                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

In re:                                                         Case No. 11-58953

MICHAEL E. McINERNEY, pro se,                                  Chapter 11

            Debtor.                                            Judge Thomas J. Tucker
________________________________/

                     OPINION REGARDING THE BECKER PARTIES’
                 LATEST MOTION TO SANCTION DEBTOR (DOCKET # 360)

         This case is before the Court on the motion filed on September 19, 2012 by Charles E.

Becker, Becker Ventures, LLC, and Charles E. Becker, Trustee under Trust Agreement of

Charles E. Becker Dated September 16, 1977 as Amended (collectively, “Becker”), entitled

“Motion to Sanction Debtor,” (Docket # 305, sometimes referred to below as the “Second Becker

Sanctions Motion”). Debtor filed an objection to the motion, and the Court held a hearing on

October 24, 2012. The Court has reviewed the papers filed by the parties regarding the motion,

including the items filed by Becker and by the Debtor the day after the hearing (Docket ## 407,

408), and the arguments of the parties made during the hearing. The Court will now rule on the

motion, as follows.

         Initially, the Court incorporates by reference everything the Court said in its July 20, 2012

opinion in this case.1

             First, Becker alleges that the Debtor has committed a fraud upon the Court. Becker

argues here, essentially, that the purported consulting agreement between Debtor and Endura

Coatings, LLC dated June 25, 2012, and the purported June 25, 2012 Affidavit of Michael J.



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          Opinion Regarding the Becker Motion for Sanctions Against Debtor, filed July 20, 2012
(Docket # 304).



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Stechschulte, each of which the Debtor filed with the Court on June 26, 2012,2 are fake.

        Second, and relatedly, Becker alleges that the Debtor participated in improperly trying to

impede and interfere, in various ways, with efforts by Becker’s counsel to obtain discovery about

the consulting agreement and the Stechschulte affidavit, including discovery from Stechschulte.

        The Debtor denies all of these allegations by Becker. The Court concludes that in order

to decide the merits of these claims and arguments by Becker, the Court would need to conduct

an evidentiary hearing. Because of the Court’s ruling on the other grounds argued in the Second

Becker Sanctions Motion, however, such an evidentiary hearing will not be necessary — it will

not be necessary for the Court to decide the merits of these first two arguments by Becker.

        Third, Becker complains that the Debtor failed to comply with the Court’s July 20, 2012

Order (the “July 20 Order”), which stated, in pertinent part, the following:

                8. No later than September 17, 2012, the Debtor, Becker, and the
                   United States Trustee must deliver to each other a witness list,
                   an exhibit list, and a copy of all marked exhibits that the party
                   may use at the evidentiary hearing.

                9. If the Debtor or any other party fails to fully comply with the
                   deadline and requirements stated in the preceding paragraph of
                   this Order, the Court may sanction such party, including
                   possible monetary sanctions, and possible exclusion of
                   witnesses and exhibits from the evidentiary hearing.3

Becker claims that the Debtor did not deliver to Becker’s counsel any witness list, exhibit list, or

marked exhibits, by the September 17, 2012 deadline, or ever.



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          These documents were filed as attachments to Debtor’s objection to Becker’s first motion for
sanctions. (Docket # 293).
        3
          Order Regarding the Becker Parties’ Motion for Sanctions Against Debtor, and Adjourning the
July 24, 2012 Evidentiary Hearing, filed July 20, 2012 (Docket # 305) at 2 (bold emphasis in original).

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       The Debtor admits that he did not deliver any witness list, or any exhibit list, to Becker’s

counsel or to counsel for the United States Trustee (the “UST”), by the September 17, 2012

deadline, or ever.

       Debtor claims that he sent three exhibits (“Debtor’s three exhibit documents”), though

none of them were marked exhibits, to Debtor’s counsel Mr. Foley by email, on September 17,

2012. A copy of the email and its attachments, which Debtor says he emailed to Mr. Foley at

11:34 p.m. on September 17, 2012, is on file at Docket # 408, pdf pp. 2-5. At the hearing, Mr.

Foley denied receiving the September 17 email from Debtor. Mr. Foley admitted during the

hearing, however, that the Debtor’s September 17 email bears a “To” address that is Mr. Foley’s

correct email address. And it is undisputed that the other “To” addressee of the email, Richard

Roble (counsel for the UST), did receive the email and its attachments.

       The Court finds it unnecessary to resolve this apparent factual conflict, which might itself

require an evidentiary hearing to resolve. This is because the Court can rule on this aspect of the

Second Becker Sanctions Motion without resolving the factual conflict just described. The

Court’s ruling would be the same as what is stated below, even if the Court found as a fact that

the Debtor did not email or otherwise deliver the Debtor’s three exhibit documents to Becker’s

counsel. The Court will assume that Debtor did do so, for purposes of this opinion.

       The Court will address first Debtor’s admitted failure to deliver, by September 17 or ever,

to either counsel for Becker or counsel for the UST, a witness list for the evidentiary hearing.

Debtor says he did not do this because he does not intend to call any witnesses at the evidentiary

hearing, except himself. Debtor says that he assumed that he did not need to list himself as a

witness, and that it was obvious to Becker and the UST that Debtor would call himself as a


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witness.

       This is not a valid excuse for Debtor’s failure to deliver a witness list to Becker and the

UST, naming himself as a witness, by the September 17 deadline. This is the second time that

Debtor has violated an order of the Court requiring him to serve a witness list by a stated

deadline. In the Court’s July 20, 2012 opinion, the Court found that the Debtor had violated the

Court’s May 3, 2012 order, which required that no later than June 21, 2012, Debtor and Becker

deliver to each other “a witness list, exhibit list, and a copy of all marked exhibits that the party

may use at” the evidentiary hearing that was then scheduled for June 26, 2012.4 The Court found

that Debtor violated the May 3 Order, by failing to deliver any of the required items to Becker.5

With respect to Debtor’s failure to deliver a witness list, the Court noted the following in its

opinion:

                 In this regard, Debtor stated at the June 26 hearing that as of the
                 June 18 deadline, he did not have any exhibits to present and his
                 only witness would be himself. (The consulting agreement
                 between Debtor and Endura Coatings, according to Debtor, was
                 not signed until June 25, 2012.) There are at least two problems
                 with Debtor’s arguments here. First, Debtor was required to
                 serve a witness list, listing himself as a witness, by the June 18,
                 2012 deadline, and he did not do so.6

When the Court read this passage from the July 20 opinion to the Debtor, during the October 24,

2012 hearing, Debtor said that he had missed it, even though he also said that he had read the

Court’s July 20 opinion several times. Debtor’s apparent carelessness in reading the Court’s



       4
           See Order, filed May 3, 2012 (Docket # 215) at ¶ 3.
       5
           July 20, 2012 Opinion at 15-16.
       6
           Id. at 15-16, n. 28 (emphasis added).

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opinion, however, is no excuse.

       Because Debtor intended, and still intends, to call himself as a witness at the evidentiary

hearing, Debtor clearly violated the Court’s July 20 Order when he failed to deliver a witness list,

listing himself as a witness, to Becker and the UST by the September 17, 2012 deadline.

       Debtor also clearly violated the July 20 Order, in his admitted failure to deliver to Becker

and the UST an exhibit list, and a marked copy of Debtor’s three exhibit documents, by the

September 17 deadline, or ever.

       The Court is very surprised that Debtor would fail to comply with the July 20 Order in

these ways. Debtor’s violations of that Order are outrageous, especially given everything the

Court said in its July 20, 2012 opinion, and when Debtor easily could have complied with the

July 20 Order, by timely delivering to counsel for Becker and the UST a witness list, containing

the name of his one witness — himself; marked copies of his three exhibits; and a list of his three

exhibits. Debtor has offered no good excuse or explanation for his failure to do these simple

things. The Court is utterly at a loss to understand it.

       The question now is what should the Court do about Debtor’s violations of the Court’s

July 20 Order? Becker seeks a panoply of relief: conversion of this case to Chapter 7; exclusion

of evidence; and attorney fees and expenses. The Court’s first reaction, and one logical remedy,

is for the Court to rule that Debtor may not call any witnesses at the evidentiary hearing,

including himself, and may not present any exhibits. But this would be a case-dispositive

remedy — for the reasons discussed later in this opinion, such a ruling would lead directly to a

denial of confirmation of Debtor’s Chapter 11 plan, and conversion of this case to Chapter 7.

       The Court discussed the law, and the factors, relevant to the question of remedies in its


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July 20, 2012 opinion (at pp. 16-20), and will not repeat that discussion here. The Court will

now apply the factors relevant to the remedy question here, bearing in mind that these factors are

not requirements that must be met, but rather are factors to be considered. No one factor is

dispositive. See July 20, 2012 Opinion at 17 (citations omitted).

       Factor No. 1: whether Debtor’s failure to comply with the July 20 Order is due to

willfulness, bad faith, or fault. The answer here, clearly, is yes. The Court finds from the

undisputed facts that Debtor’s failure to comply with the July 20 Order was willful, in that it was

both an “intentional” failure and a “conscious” failure to comply. Debtor had to know that he

was failing to comply with the July 20 Order, when he failed to timely deliver to counsel for

Becker and the UST a witness list, exhibit list, and marked copies of exhibits. The July 20 Order

is absolutely clear. Debtor is a licensed attorney, and from the Court’s experiences listening to

Debtor argue in hearings in this case, it is clear that Debtor is an intelligent man. And even if

Debtor’s violation of the July 20 Order were neither an intentional nor a conscious failure, and

therefore not “willful,” the Debtor certainly was at “fault” in failing to comply with the July 20

Order. “Fault” in this context includes gross negligence. See Shapiro v. Plante & Moran, LLP

(In re Connolly North America, LLC), 376 B.R. 161, 183-85 (Bankr. E.D. Mich. 2007). Debtor,

at a minimum, was certainly grossly negligent here.

       Factor No. 2: whether Becker was prejudiced by Debtor’s noncompliance. The

Court finds that Becker has been prejudiced by Debtor’s failure to comply with the July 20

Order, but only in a financial way. The only prejudice Becker has suffered is that Becker has had

to incur reasonable attorney fees and expenses in bringing its second sanctions motion (the one

now before the Court.) The Court could remedy that prejudice by requiring Debtor to pay Becker


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such fees and expenses. This is the limited remedy that the Court chose for Debtor’s willful

discovery violations and willful failure to comply with the Court’s earlier orders, which the Court

described in great detail in its July 20, 2012 Opinion. Debtor ultimately had to pay Becker the

sum of $4,453.34 for such earlier violations.7 But imposing this financial remedy took time and

delayed the evidentiary hearing on confirmation, since the Court had to resolve a dispute between

Debtor and Becker regarding what amount of fees and expenses were reasonable. In doing so the

Court, sua sponte, had to adjourn the evidentiary hearing on confirmation, from September 25,

2012 to October 30, 2012.8 (That evidentiary hearing has since been adjourned again, this time

to November 13, 2012.)

        If the Court were to order this more limited form of attorney fee sanction now, for

Debtor’s violations of the July 20 Order, it would further delay the evidentiary hearing on

confirmation, because the Court would have to determine the reasonable amount of Becker’s fees

and expenses, and then require Debtor to actually pay that sanctions amount to Becker before the

Court would begin the evidentiary hearing. So if the Court once again were to choose this

limited form of financial remedy, in order to cure the financial prejudice Becker has suffered, it

would cause another form of prejudice to Becker and the other creditors in this case — namely,

further delay in the Court beginning the evidentiary hearing.

        Other than the forms of prejudice just discussed, Becker appears not to have suffered any

prejudice from Debtor’s violation of the July 20 Order. Even though Becker’s counsel contends


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           Becker paid this amount to Becker on October 18, 2012, after being ordered by the Court to do
so by that date. See Memorandum Statement Regarding Sanctions Order (Docket # 393); and the Court’s
orders at Docket ## 375 and 305.
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            See Notice of Adjournment, etc., filed September 18, 2012 (Docket # 358).

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that he did not receive Debtor’s September 17, 2012 email, Becker’s counsel admitted during the

October 24, 2012 hearing that he received, from the UST’s counsel, copies of Debtor’s three

exhibit documents, no later than about October 3, 2012. And as a practical matter, Becker’s

counsel has known since at least the time of the June 26, 2012 hearing that Debtor intended to

call himself as a witness at the evidentiary hearing — as noted above, Debtor said so during the

June 26 hearing. And knowing this, Becker had another opportunity to depose Debtor after the

June 26 hearing, and Becker and the UST did depose Debtor again, on August 23, 2012.

       Factor No. 3: whether the Debtor was warned that failure to comply with the July

20 Order could lead to dispositive relief. The answer is, emphatically, yes. In the July 20

Order itself, the Court stated the following:

                 8. No later than September 17, 2012, the Debtor, Becker, and the
                    United States Trustee must deliver to each other a witness list,
                    an exhibit list, and a copy of all marked exhibits that the party
                    may use at the evidentiary hearing.

                 9. If the Debtor or any other party fails to fully comply with the
                    deadline and requirements stated in the preceding paragraph
                    of this Order, the Court may sanction such party, including
                    possible monetary sanctions, and possible exclusion of
                    witnesses and exhibits from the evidentiary hearing.9

The Court was even more explicit and emphatic in warning the Debtor, specifically, in the July

20, 2012 Opinion. First, the Court made clear to Becker that he was only barely escaping a

dispositive sanction at that time:

                 The fourth factor above is whether this Court has imposed or
                 considered sanctions less drastic than the non-monetary sanctions
                 Becker seeks. The Court has not previously imposed any sanctions
                 on the Debtor in this case. The Court does consider, now, the


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           July 20 Order (Docket # 305) at 2 (bold italics added).

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                 possibility of imposing less drastic sanctions on Debtor. In so
                 doing, the Court concludes that it should indeed impose
                 sanctions less drastic than what Becker seeks, although it is a
                 very close call. Rather than converting this case to Chapter 7
                 now; and rather than precluding Debtor from introducing
                 evidence at the evidentiary hearing regarding confirmation,
                 which could be fatal to Debtor’s chances of confirming his plan
                 and avoiding conversion to Chapter 7, the Court will instead
                 impose less drastic relief at this time. Such relief will, in the
                 Court’s view, prevent and remedy any prejudice to Becker, while
                 giving the Debtor another chance to fully comply with his
                 discovery and disclosure obligations. In doing so, the Court is
                 going out of its way to give Becker a full opportunity to try to
                 prove his case for confirmation of the First Amended Plan.10

Then, the Court’s opinion concluded with the following very explicit warning to the Debtor:

                 V. A word of warning to the Debtor

                 The Court now cautions Debtor that if he fails to fully cooperate
                 in discovery at any time after the date of this opinion, or if he fails
                 to serve a witness list, exhibit list, or exhibit copies by the new
                 deadline being set by the Court, or if he refuses to answer any
                 question in any further deposition or Rule 2004 examination, the
                 Court may order more drastic sanctions against Debtor,
                 including denial of confirmation of Debtor’s Chapter 11 plan;
                 conversion of this case to Chapter 7; and/or further monetary
                 sanctions.11

       Factor No. 4: whether less drastic sanctions were imposed or considered before

dispositive relief was ordered. The answer is yes. First, the Court considered, and actually

imposed, less drastic, non-dispositive sanctions against the Debtor, in the Court’s July 20, 2012

Opinion and in the July 20 Order. This is despite the fact that the Court had found that the

Debtor had willfully, consciously, and intentionally violated several orders of the Court and his



       10
            July 20, 2012 Opinion at 19 (emphasis added).
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            Id. at 20 (emphasis added).

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discovery obligations.12 Second, the Court again has considered less drastic sanctions in making

the decision that it makes today. Candidly, the Court has struggled in reaching this decision. But

in the end, the Court simply cannot tolerate the way in which the Debtor has repeatedly violated

this Court’s orders in this case.

        In reaching its decision now, the Court has considered all of the circumstances, including

all of the above factors, and has considered the Debtor’s previous and multiple, deliberate

failures to comply with his discovery obligations and with several of the Court’s orders, all as

described in the Court’s July 20, 2012 Opinion. Based on all of this, the Court finds and

concludes that the appropriate remedy for Debtor’s latest willful violations of this Court’s orders,

i.e., the violations of the July 20 Order, is an order doing all of the following: (1) precluding

Debtor from presenting any witnesses (including himself) at the evidentiary hearing on

confirmation; (2) precluding Debtor from presenting any exhibits at the evidentiary hearing on

confirmation; (3) denying confirmation of Debtor’s proposed Chapter 11 plan; (4) converting this

case to Chapter 7. The Court will enter such an order.

        Of the four components of the relief to be granted, listed above, the Court notes that items

3 and 4 not only are granted directly as sanctions, but also are consequences that flow directly

from items 1 and 2 above. And item 2 above flows as a direct consequence of item 1. Thus,

item 1 alone would be sufficient to directly lead to the relief in items 2-4. The Court will explain

this.

        First, if the Court ordered as sanctions here only that the Debtor is precluded from

presenting any witnesses, including himself, at the evidentiary hearing on confirmation — i.e.,


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             See id. at 15-16, 17-18.

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item 1 above — then items 2, 3, and 4 are consequences that all would directly result. If Debtor

cannot present any witnesses, then he cannot possibly obtain the admission into evidence of any

of his three unmarked exhibits.13 That is because Becker, and possibly also the UST, would

certainly object to such exhibits, rather than stipulate to their authenticity or to their admission

into evidence. Becker’s counsel made this clear during the October 24, 2012 hearing. And

without any witness to authenticate these exhibits, Debtor could not obtain their admission into

evidence. See Fed.R.Evid. 901(a). None of these exhibits is self-authenticating, under

Fed.R.Evid. 902.

       Of these three exhibits, the purported June 25, 2012 consulting agreement between

Debtor and Endura Coatings is the only evidence of Debtor’s claimed source and amount of

income in the future. But Becker would not just object to this exhibit on grounds that it is not

properly authenticated. Becker also argues at length, in its sanctions motion, that this purported

consulting agreement is fake — a fraud on the court. With no witness, such as Debtor, to testify

to this document’s authenticity as an agreement that was actually signed by Debtor and Endura

Coating’s “Managing Director” Michael J. Stechschulte, the Debtor could not possibly get this

document admitted into evidence at the evidentiary hearing on confirmation.

       Another of these three exhibits, Debtor’s spreadsheet labeled “Feasibility,” could not

possibly be admitted into evidence, unless the Debtor presented some evidence to support the

monthly income number, and to support and explain the expense numbers, in this spreadsheet.

Debtor cannot do this, however, because he will not be permitted to present any witnesses,

including himself. (And the only other exhibit of Debtor’s three unmarked exhibits is a


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            These three exhibit documents are in the record at Docket # 408, pdf pp. 2-5.

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purported letter from the Detroit Athletic Club, designed to show only that Debtor resigned his

membership with that club.)

       So without being able to present any witnesses, Debtor also cannot obtain the admission

into evidence of any of his exhibits. In short, Debtor cannot present any evidence at the

evidentiary hearing on confirmation.

       That necessarily means that Debtor cannot meet his burden of proving, by a

preponderance of the evidence, that his proposed Chapter 11 plan meets all of the requirements

for confirmation under 11 U.S.C. § 1129(a) and (b), including the feasibility requirement under

§ 1129(a)(11), and the good faith requirement under § 1129(a)(3). See generally the discussion

of these requirements in the Court’s July 20, 2012 Opinion, at 5, 15.

       That, in turn, means that Debtor’s proposed Chapter 11 plan cannot be confirmed.

       And that, in turn, means, among other things, that the UST’s motion to convert this case14

to Chapter 7 must be granted. That motion was heard by the Court on October 24, 2012. During

the hearing, the Court gave a bench opinion in which it made a partial ruling, and made certain

findings, all of which the Court now reiterates and incorporates by reference into this opinion.

The Court then scheduled certain unresolved issues for evidentiary hearing. The Court found and

ruled that the UST had demonstrated “cause” to convert this case, within the meaning of 11

U.S.C. § 1112(b)(1), including “cause” under §§ 1112(b)(4)(F) and 1112(b)(4)(H). And the

Court found and ruled that there may also be “cause” to convert under § 1112(b)(4)(A). In this

regard, the Court found that the UST had demonstrated “substantial or continuing loss to or

diminution of the estate,” within the meaning of § 1112(b)(4)(A), but that the issue of whether


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            Docket # 344, as supplemented by Docket # 380.

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the other requirement to show cause under that subsection is met depends on whether the Debtor

is able to confirm his plan. (The other requirement for such cause under § 1112(b)(4)(A) is “the

absence of a reasonable likelihood of rehabilitation.”) Because it is now clear that the Debtor

cannot confirm his Chapter 11 plan, cause to convert also is now established under §

1112(b)(4)(A).

        As the Court explained in its bench opinion during the October 24, 2012 hearing, even in

the presence of cause to convert or dismiss this case, the Court may not convert or dismiss this

case if the Debtor meets his burden of establishing all of the requirements under 11 U.S.C.

§ 1112(b)(2). One of these requirements is that “there is a reasonable likelihood that a plan will

be confirmed . . . within a reasonable period of time.” 11 U.S.C. § 1112(b)(2)(A). Because it is

now clear that Debtor cannot establish this — because he cannot confirm a Chapter 11 plan —

Debtor cannot avoid conversion based on 11 U.S.C. § 1112(b)(2).

        As between dismissal and conversion, the UST’s motion requests conversion, and it is

clear that conversion, rather than dismissal, is in the best interests of creditors and the estate,

within the meaning of 11 U.S.C. § 1112(b)(1).

        For these reasons, conversion to Chapter 7 follows as a direct and necessary consequence

of the Court’s ruling that precludes Debtor from presenting any witnesses at the evidentiary

hearing on confirmation. But as stated above, the Court also is ordering conversion to Chapter 7

directly, as a sanction for Debtor’s violations of the July 20 Order.

        To the extent Becker’s Second Sanctions Motion seeks monetary relief, such as attorney

fees and expenses, that relief will be denied. The Court concludes that such monetary relief is

not necessary or appropriate, given the relief that the Court is granting. And the Court notes that


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Becker is saving substantial attorney fees and expenses by not having to prepare further for, and

attend, an evidentiary hearing on confirmation.

       The Court will now enter a separate order that is consistent with this opinion.


Signed on November 2, 2012                             /s/ Thomas J. Tucker
                                                       Thomas J. Tucker
                                                       United States Bankruptcy Judge




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